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                                LIST OF EXHIBITS

Exhibit 1 - Joint Stipulation

      Exhibit A - Claim and Consent Form

      Exhibit B - Class Participant Notice

      Exhibit C - Preliminary Approval Order

      Exhibit D - Final Order and Judgment

      Exhibit E - Exclusion Form

      Exhibit F - Non-Participant Class Notice

Exhibit 2 - Declaration of Megan Bonanni

      Exhibit A - Summary of Time PMPR (hours)

      Exhibit B - Out of pocket expenses PMPR
